                                                                                                                                                                                                        Page:       1
                                         Case 14-00125               Doc 31     Filed 08/05/19 Entered 08/05/19 11:52:16                                     Desc Main
                                                                                            FORM 1
                                                                        INDIVIDUALDocument     Page
                                                                                   ESTATE PROPERTY   1 of 4AND REPORT
                                                                                                   RECORD
                                                                                                   ASSET CASES
Case No:               14-00125                         PSH            Judge:        Pamela S. Hollis                             Trustee Name:                      STEVEN R. RADTKE
Case Name:             Baltazar Guzman                                                                                            Date Filed (f) or Converted (c):   01/03/2014 (f)
                                                                                                                                  341(a) Meeting Date:               04/09/2014
For Period Ending:     06/30/2019                                                                                                 Claims Bar Date:                   08/06/2019


                                    1                                               2                             3                            4                          5                             6

                         Asset Description                                        Petition/                 Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                           Unscheduled             (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                                  Values                 Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                             Exemptions,                                                                              Assets
                                                                                                           and Other Costs)

  1. Single Family Home 9140 S. Keeler, Oak Lawn, IL                                     312,880.00                   94,222.00                                                       0.00                        FA
  2. Multi Family Residence 5 Warant St., Calumet City, IL                               237,564.00                   11,796.00                                                       0.00                        FA
  3. Cash on hand                                                                             100.00                       0.00                                                       0.00                        FA
  4. PNC Bank checking account #3261                                                           50.00                       0.00                                                       0.00                        FA
  5. General Items of Household Goods and Furnishings                                         200.00                       0.00                                                       0.00                        FA
  6. General Items of Wearing Apparel                                                         200.00                       0.00                                                       0.00                        FA
  7. Potential personal injury claim as a result of an accident-                          Unknown                          0.00                                                       0.00                       0.00
     unfiled
  8. 1990 Cadillac 90,000 miles                                                            1,200.00                        0.00                                                       0.00                        FA
  9. 1993 Mercedes 100,000 miles                                                           1,800.00                        0.00                                                       0.00                        FA


                                                                                                                                                                                   Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                     $553,994.00                $106,018.00                                                     $0.00                        $0.00
                                                                                                                                                                                   (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

  6/2019 Trustee to employ special counsel regarding settlement award from pre-petition personal injury claim

  3/2019 Case reopened




  Initial Projected Date of Final Report (TFR): 06/30/2020             Current Projected Date of Final Report (TFR): 06/30/2020

  Trustee Signature:       /s/ STEVEN R. RADTKE              Date: 07/31/2019
                                                                                         Page:   2
         Case 14-00125
STEVEN R. RADTKE
                         Doc 31   Filed 08/05/19 Entered 08/05/19 11:52:16   Desc Main
79 WEST MONROE STREET               Document     Page 2 of 4
SUITE 1314
CHICAGO, IL 60603
(312) 346-1935
                                                                                                                                                                                        Page:           1
                                     Case 14-00125                Doc 31 Filed 08/05/19
                                                                                     FORM 2Entered 08/05/19 11:52:16                          Desc Main
                                                                  ESTATE CASHDocument     Page 3 of 4 RECORD
                                                                             RECEIPTS AND DISBURSEMENTS
           Case No: 14-00125                                                                                       Trustee Name: STEVEN R. RADTKE
      Case Name: Baltazar Guzman                                                                                     Bank Name:
                                                                                                            Account Number/CD#:


  Taxpayer ID No:                                                                                  Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 06/30/2019                                                                      Separate Bond (if applicable):


       1                2                          3                                           4                                                  5                  6                     7

Transaction Date    Check or            Paid To / Received From                   Description of Transaction              Uniform Tran.     Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                 Code                                                         ($)
                                No Bank Accounts



                                                                                                      COLUMN TOTALS                                   $0.00                $0.00
                                                                                                            Less: Bank Transfers/CD's                 $0.00                $0.00
                                                                                                      Subtotal                                        $0.00                $0.00
                                                                                                            Less: Payments to Debtors                 $0.00                $0.00
                                                                                                      Net                                             $0.00                $0.00




                                                                             Page Subtotals:                                                          $0.00                $0.00
                                                                                                                                                             Page:     2
                              Case 14-00125          Doc 31         Filed 08/05/19 Entered 08/05/19 11:52:16         Desc Main
                                                                      Document     Page 4 of 4

                                                                                         TOTAL OF ALL ACCOUNTS
                                                                                                                                         NET             ACCOUNT
                                                                                                       NET DEPOSITS       DISBURSEMENTS                   BALANCE
                                               -                                                                 $0.00                  $0.00                 $0.00
                                                                                                                 $0.00                  $0.00                 $0.00

                                                                                                     (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                             transfers)            to debtors)
                                              Total Allocation Receipts:                    $0.00
                                              Total Net Deposits:                           $0.00
                                              Total Gross Receipts:                         $0.00



Trustee Signature:   /s/ STEVEN R. RADTKE   Date: 07/31/2019

                     STEVEN R. RADTKE
                     79 WEST MONROE STREET
                     SUITE 1314
                     CHICAGO, IL 60603
                     (312) 346-1935




                                                                      Page Subtotals:                                       $0.00                $0.00
